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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR83
                                              )
                     Plaintiff,               )
                                              )
              vs.                             )                 TRIAL ORDER
                                              )
BONNIE S. TIMLICK,                            )
                                              )
                     Defendant.               )

       IT IS ORDERED:

       Trial in this matter is scheduled to begin on Wednesday, December 14, 2005,

commencing at 9:00 a.m., or as soon thereafter as the same may be tried, before District

Judge Laurie Smith Camp, in Courtroom No. 2, Third Floor, Roman L. Hruska Courthouse,

111 S. 18th Plaza, Omaha, Nebraska. A Pretrial Conference, beginning at 8:30 a.m., will

be held in chambers prior to the start of trial.

       Counsel is advised that street clothes must be provided for the defendant in any

trial proceedings.

       DATED this 12th day of December, 2005.



                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
